
Turley, J.
delivered the opinion of the Court.
This is an action of trover brought by the plaintiff against the defendant, a constable, to recover for the conversion of a horse and buggy. Plaintiff claims title by virtue of a sale from John M. Peace. Defendant protects himself by a sale under *307an execution against John M.'Peace, and attacks the bill of sale of plaintiff for fraud.
The Circuit J udge held that he could not do this, because the judgment upon which the execution issued was void.
The warrant was issued by J. H. Bullard, a justice of the peace for Wilson county, on the 23d day of July, 1841. This warrant was returned before him on the same day by J. B. Jar-rell, the defendant, endorsed'“executed and set for trial the 23d of July, 1841,” and judgment rendered thereon, on the same day, for $8S 18.
The judgment was held to be void, because the return does not specify before what particular justice of the peace the warrant was to be returned, and that, therefore, the justice in this case had no jurisdiction of the person of J. M. Peace, the defendant in the execution.
In .this there was error. We do not think a judgment is void for such objection; at most.it could only be voidable; and, indeed, we do not think it that, when-the same justice who issues the warrant renders the judgment.
To ’hold such strictness necessary, as the.Circuit Judge has required in this case, would no doubt be productive of much mischief, in unsettling proceedings had before justices of the peace, and endanger rights acquired under them.
■ Let the judgment be reversed, and the cause remanded for a new trial
